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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 - -- - - -- - - -- - - -- - - -- - - -- - - - - - - - - - - - -x
                                                                :
 UNITED STATES OF AMERICA
                                                                :
                   - v. -                                           23 Cr. 370 (JGLC)
                                                                :
 JOSEPH LEWIS,
                                                                :
                            Defendant.
                                                                :
 - -- - - -- - - -- - - -- - - -- - - -- - - - - - - - - - - - -x




                      THE GOVERNMENT’S SENTENCING SUBMISSION




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       The Government respectfully submits this sentencing memorandum in advance of the April

4, 2024 sentencing of defendant Joseph Lewis.

                                PRELIMINARY STATEMENT

       Joseph Lewis committed grave, serial breaches of the duties he owed publicly traded

companies to keep information confidential. As a billionaire investor, Lewis had privileged access

to non-public, market-moving information by virtue of his large investments in certain companies.

But while he was obligated to keep that information secret, and not trade on it, he did the opposite.

On at least four separate occasions, he tipped his girlfriend, personal pilots, employees, and friends

with closely guarded, valuable information entrusted to him, intending that those individuals

would trade securities he recommended. With the benefit of Lewis’s recommendations, those

individuals profited. This insider trading was not the result of aberrant, one-time conduct, but

rather, a troubling pattern of misconduct over the course of several years. In the process, Lewis’s

conduct undermined the integrity of the securities markets from which he has so handsomely

profited for decades. And, as he now acknowledges, “his offenses were serious” and his “behavior

was unacceptable and deserving of punishment.” (Dkt. 60 at 20).

       Unlike many defendants who commit insider trading, Lewis’s conduct was not motivated

by personal profit—he did not personally trade based on inside information, and did not make any

money. Lewis describes his insider trading in his letter to the Court as motivated by “hubris and

childish exuberance.” Whether his criminal conduct was motivated by hubris, ego, a desire to make

a financial gift without parting with his own money, an irrational form of greed, or some other

reason, it is clear that Lewis believed he was above the law—that he had achieved a level of wealth

and stature that relieved him from having to operate by the same rules that apply to everyday

investors. For these, and the reasons discussed further below, the United States Sentencing
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Guidelines appropriately advise that a sentence of imprisonment between 18 and 24 months is

justified by the conduct in this case.

       Consistent with that guidance, standing alone, Lewis’s conduct would merit a significant

sentence, one within the applicable Sentencing Guidelines range. But as described at length in

Lewis’s sentencing submission, and as recognized by the Probation Department, Lewis is elderly

and battles significant health issues, many of which would make a term of imprisonment more

difficult than it would be for a differently situated defendant. Those health conditions, coupled

with the facts that Lewis demonstrated acceptance of responsibility by traveling to the United

States to voluntarily surrender (instead of engaging in a protracted extradition battle), promptly

accepted responsibility through a guilty plea, and has otherwise lived a law-abiding life, weigh in

favor of leniency. Accordingly, the Government agrees with the defendant and the Probation

Office that a downward variance, in some form, is appropriate.

       On balance, and in consideration of both the seriousness of the offense and the unique

mitigating age and health factors at issue for Lewis, the Government respectfully submits that,

although punishment is warranted by Lewis’s conduct, a sentence of 18 to 24 months’

imprisonment would be greater than necessary to serve the goals of sentencing in this case.

                STATEMENT OF FACTS AND PROCEDURAL HISTORY

       A.      Background and Offense Conduct Overview

       Joseph Lewis is the founder and owner of Tavistock Group (“Tavistock”), a private

investment organization whose investments in currencies and hundreds of companies have earned

the defendant billions of dollars. (March 13, 2024 Final Presentence Investigation Report (“PSR”)

¶¶ 112-13). Tavistock’s investment portfolio includes the professional soccer team the Tottenham

Hotspurs; master-planned communities and resort properties in Florida, The Bahamas, and



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Jamaica; hotel properties; restaurant groups; and ownership interests in private investment funds.

(PSR ¶ 13). As a result of his business success, particularly successful currency trading, Lewis is

one of the 500 richest people in the world, worth approximately $6.2 billion as of February 2024.

(PSR ¶ 120). He has used his tremendous wealth to purchase, among other things, homes in several

countries, a $250 million yacht, a private aircraft valued at $90 million, an art collection worth

$100 million. (PSR ¶ 118).

       Lewis owns approximately 80 percent of an investment fund called Boxer Capital, which

makes investments in publicly traded life science companies. (PSR ¶ 117). As the majority owner

of Boxer Capital, Lewis insisted on receiving updates on the investments made by Boxer Capital,

including about investment opportunities and the results of clinical trials by certain companies in

which he had invested. (PSR ¶ 18). Lewis learned through Boxer Capital material, non-public

information about the companies in which Boxer Capital invested. (PSR ¶ 19). Lewis knew that

such information was confidential and that he and Boxer Capital were restricted from sharing the

information with third parties or trading based on that information. (Id.). Indeed, as the chairman

of Tavistock, and the majority owner of the Boxer Capital, Lewis owed duties of trust and

confidence to the principals and minority owners of Boxer Capital, and by extension to the

companies from which Boxer Capital received confidential information, to keep the information

confidential. (PSR ¶ 18).

       Nonetheless, and despite this knowledge, Lewis shared material, non-public information

about multiple companies over the course of several years as gifts or often in lieu of other

compensation, allowing his employees, friends, and romantic interests to cheat the market and

trade for profit on this information. Indeed, as further detailed below, on at least four separate

occasions, Lewis engaged in insider trading by tipping or causing others to trade. Such insider



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trading involved the stock of the following publicly traded companies: Australian Agricultural

Company (PSR ¶¶ 21-27); Solid Biosciences (PSR ¶¶ 28-34); Mirati Therapeutics (PSR ¶¶ 35-

43); and BCTG Acquisition Corporation (PSR ¶¶ 53-57). Lewis did not personally profit from the

insider trading, and the total gains to his employees, friends, and romantic interests would have

been trivial to him. But to the tippees, the profits were significant: $548,601.84. (PSR ¶ 58).

               1. Australian Agricultural Company

       The Australian Agricultural Company (“AAC”) is a publicly listed Australian company

that owned and operated cattle feedlots and farms in Australia. (PSR ¶ 21). At all times relevant

to the charges in this case, Lewis owned a majority of AAC’s stock, and two employees of

Tavistock served on AAC’s board of directors. (Id.). In early 2019, a monsoon caused significant

flooding in Queensland, Australia, which impacted AAC. (PSR ¶ 22). Initially, the impact on the

company was unknown, because AAC owned millions of acres of land, and because the potential

for insurance coverage or Government assistance was not clear. (Id.). On February 10, 2019,

AAC’s board of directors held a meeting and determined that losses were likely to be material,

that there was not sufficient insurance coverage, and that the Australian government was not

expected to cover the losses, and, that same day, a board member employed by Tavistock told

Lewis the same. (PSR ¶¶ 23-24).

       Lewis then provided this material, non-public information to his personal pilots, who had

previously invested in AAC, and therefore stood to lose money based on this negative news. (PSR

¶ 25). More specifically, after the meeting but before any public announcement, on February 10,

2019, Lewis called one of his pilots, Patrick O’Connor, and they discussed that O’Connor and

Lewis’s other pilot (Bryan Waugh) should sell all of their AAC stock. (Id.). After Lewis tipped off

O’Connor, both pilots contacted their stockbroker to order the immediate sale of their AAC stock.



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       As a result of this flooding, on February 11, 2019, AAC issued an announcement regarding

the anticipated losses and, that day, AAC’s share price closed down 12.3 percent from the prior

day. (PSR ¶ 26). Despite the pilots’ efforts to quickly trade on Lewis’s inside information, the

stockbroker working for the pilots was unable to execute their requested sale orders before AAC’s

public announcement. (PSR ¶ 27).

               2. Solid Biosciences

       The second publicly traded company whose material, non-public information was provided

by Lewis to his co-conspirators is Solid Biosciences (“SLDB”). SLDB is a publicly traded

biotechnology company focused on developing treatments for Duchenne muscular dystrophy, a

generic disease, and is listed on the Nasdaq stock exchange. (PSR ¶ 28). In 2018, Lewis became a

significant shareholder of SLDB through Boxer Capital and his own stock holdings. (Id.).

       In July 2019, when Lewis was one of SLDB’s three largest shareholders, SLDB sought

approximately $60 million in capital through a private investment in public equity (“PIPE”)

transaction. (PSR ¶ 29). On July 18, 2019, an investment bank working on SLDB’s behalf

contacted Boxer Capital about a potential investment in the PIPE transaction, and Boxer Capital

signed a confidentiality agreement. (Id.). After the confidentiality agreement was signed and in

connection with the contemplated PIPE investment, SLDB provided Boxer Capital with non-

public information about a clinical trial, and, in particular, information that SLDB intended to

disclose to the market approximately one month later. (Id.). Lewis learned about the planned PIPE

transaction, about the planned clinical trial, and about information relating to progress on the PIPE

transaction on multiple occasions. (Id.). All the while, Lewis knew that the information he received

was confidential and non-public. (Id.).




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       On July 25, 2019, while visiting South Korea with his girlfriend, Lewis tipped her and told

her to purchase SLDB stock before news of the PIPE transaction or the clinical trial was public.

(PSR ¶ 31). Shortly after speaking to him, Lewis’s girlfriend used nearly all of her available funds

to purchase $700,000 worth of SLDB stock. (Id.). The next day, Lewis and his girlfriend flew on

Lewis’s private airplane, which was piloted by O’Connor and Waugh. (PSR ¶ 32). During the

flight, Lewis told the pilots that he had purchased a large share of SLDB and that they should buy

the stock as soon as possible. (Id.). While in flight, SLDB announced the PIPE transaction. (PSR

¶ 33). Waugh and O’Connor were not able to capitalize on this information because they were in

flight. (PSR ¶¶ 33, 34). Nonetheless, SLDB had not yet released its clinical trial results and, shortly

after landing in the United States, both O’Connor and Waugh purchased SLDB stock. (PSR ¶ 33).

On August 14, SLDB released confidential information about its clinical trial and the company’s

share price increased by approximately 23 percent. (PSR ¶ 34). Lewis’s girlfriend and pilots all

sold their SLDB stock for a profit over the ensuing weeks. (Id.).

               3. Mirati Therapeutics

       The third company whose stock was at issue in this scheme is Mirati Therapeutics (“Mirati”

or “MRTX”), a Nasdaq-listed oncology company focused on the development of cancer

therapeutics. Lewis was one of Mirati’s largest shareholders by virtue, again, of his direct

ownership and beneficial ownership through Boxer Capital. (PSR ¶ 35). Lewis had control over a

Mirati board seat, which was occupied by an employee of Boxer Capital, who routinely received

material, non-public information about MRTX. (Id.). Among other things, this included

information about clinical trials, the timing of corporate announcements, and planned presentations

of data at conferences, which was then often shared with Lewis. (Id.). Lewis understood that this

was material, non-public, confidential information, and due to the relationship between Lewis,



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Boxer Capital, Tavistock, and Mirati, Lewis was highly restricted in when he could purchase

MRTX stock and what he could do with the information he was given. (Id.). Indeed, Boxer Capital

had an explicit agreement with Lewis and his employees that they would pre-clear any trades in

MRTX to confirm that Boxer Capital and Lewis were not in possession of any material non-public

information at the time. (Id.). Boxer Capital would have never shared confidential information

with Lewis if it had any reason to believe that Lewis was using the information inappropriately,

disseminating it to others, or tipping friends and employees so that they could insider trade. Despite

Boxer Capital’s and Tavistock’s carefully calibrated policy to avoid insider trading, Lewis used

and misappropriated the information he was given on multiple occasions.

         In 2019, Mirati was conducting a clinical trial for a drug that had the potential to inhibit

mutations of the KRAS gene, which underlies approximately 20 percent of human cancers. (PSR

¶ 36). In August 2019, Boxer Capital learned through a confidential update from Mirati that the

company was planning to release the first clinical data from its trial in the fourth quarter of 2019,

and Lewis was provided that information by Boxer Capital. (Id.). Over the next two months, Boxer

Capital updated Lewis about the results, and discussed the potential positive effect they could have

on Mirati’s share price. (PSR ¶ 37). Within days of learning the information, Lewis called his

girlfriend and told her to sell her SLDB shares in order to purchase MRTX stock instead, giving

her detailed instructions about how to go about selling and buying the stock. (PSR ¶ 38). Following

Lewis’s directions, his girlfriend spent almost all of the funds in her brokerage account on MRTX.

(Id.).

         On October 10, 2019, O’Connor and Waugh flew Lewis to the Bahamas, and Lewis told

them to purchase as much MRTX stock as they could and, in the process, to sell their SLDB stock

in favor of Mirati. (Id.). The next day, both pilots purchased MRTX stock. (Id.). Lewis gave his



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pilots specific information on the timing of the announcement, telling them (in O’Connor’s words)

that they could “take profit” in approximately “6 to 8 weeks.” (Id.). Lewis’s conduct was not

limited to providing the tips to his pilots. He also loaned each of them $500,000 to purchase more

MRTX stock so that they could take advantage of the unlawfully misappropriated information.

(Id.).

         Lewis also told several other individuals to purchase Mirati stock before the public

announcement of the clinical trials, including one of his several personal assistants, and at least

three other friends, including one with whom he was romantically involved and another with whom

he played poker in Argentina. (PSR ¶ 41).

         On October 28, 2019, Mirati announced favorable results, just as Lewis had promised his

web of insider traders. (PSR ¶ 42). The following day, Mirati’s share price closed up approximately

16.7 percent from the previous day’s close. (Id.). The individuals who Lewis tipped later sold their

shares of Mirati. To close the loop on his assistance to his pilots and co-defendants, on November

11, 2019, Lewis asked them to repay the $500,000 loans he had given, which they both promptly

did. (PSR ¶ 42).

                4. BCTG Acquisition Corporation

         Finally, in July 2020, in consultation with Lewis, Boxer Capital created a special purpose

acquisition company called BCTG Acquisition Corporation. (PSR ¶ 53). In January 2021, BCTG

began negotiating a potential business combination with Tango Therapeutics (“Tango”), to take

the company public. (Id.). On January 27, BCTG sent Tango a nonbinding letter of intent, the

parties began diligence, and members of BCTG’s board of directors began updating Lewis about

the progress. (Id.). This information was confidential and subject to a non-disclosure agreement.

(Id.). Lewis saw both O’Connor and Waugh on February 4, 2021, and told them to purchase BCTG



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stock, which they both did that day. (PSR ¶ 54). O’Connor told his broker to buy “all the BCTG”

that he was able to purchase. (Id.). The following month, Lewis told two of his personal assistants

who were working on his yacht to purchase BCTG’s stock, which they, too, did. (PSR ¶ 56). Again,

this non-public information proved a winner, as, on April 14, 2021, BCTG publicly announced its

planned merger with Tango and its stock price increased by 14.5 percent. (PSR ¶ 57).

       B.      Procedural History

       Indictment S1 23 Cr. 370 (JGLC) (the “Indictment”) was filed on July 24, 2023, and

charged Lewis with two counts of conspiracy to commit securities fraud, in violation of 18 U.S.C.

§ 371 (Counts 1 and 2); fourteen counts of securities fraud, in violation of 15 U.S.C. §§ 78j(b) &

78ff, 17 C.F.R. §§ 240.10b-5, 240.10b5-1, and 240.10b5-2, and 18 U.S.C. § 2 (Counts 3 through

15); three additional counts of securities fraud, in violation of 18 U.S.C. §§ 1348 and 2 (Counts

16, 17, and 18); and one additional count of conspiracy to commit securities fraud, in violation of

18 U.S.C. § 371 (Count 19). After being notified of the existence of a warrant for his arrest, Lewis

flew back to the United States and self-surrendered the day that the Indictment was unsealed. He

was released that same day after posting a $300-million-dollar personal recognizance bond secured

by significant property. (PSR at p. 2). On January 24, 2024, Lewis pled guilty, pursuant to a plea

agreement with the Government (the “Plea Agreement”), to Counts One, Seven, and Ten of the

Indictment. (PSR ¶¶ 10, 11).

       C.      Presentence Investigation Report

       Using the November 1, 2023 Guidelines Manual, the Probation Office, consistent with the

Plea Agreement, concluded that Lewis’s offenses result in a total Guidelines offense level of 15,

calculated as follows:




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               1. The guideline applicable to the offenses charged in Counts One,
                  Seven, and Ten (which are treated as a single group pursuant to
                  U.S.S.G. § 3D1.2(b) & (d)) is U.S.S.G. § 2B1.4.

               2. Pursuant to U.S.S.G. § 2B1.4, the base offense level for the
                  offenses is eight.

               3. Pursuant to U.S.S.G. §§ 2B1.4(b)(1) and 2B1.1(b)(1)(I),
                  because the gain resulting from the underlying offenses was
                  approximately $548,601.84, 12 levels are added.

               4. The adjusted offense level is therefore 20.

               5. Pursuant to U.S.S.G § 4C1.1(a), two levels are deducted,
                  because, based upon the information now available to this Office
                  (including representations by the defense), the defendant
                  qualifies for an adjustment for certain zero-point offenders.

               6. Assuming the defendant clearly demonstrates acceptance of
                  responsibility, to the satisfaction of the Government, through his
                  allocution and subsequent conduct prior to the imposition of
                  sentence, a two-level reduction will be warranted, pursuant to
                  U.S.S.G. § 3E1.1(a). Furthermore, assuming the defendant has
                  accepted responsibility as described in the previous sentence, the
                  Government will move at sentencing for an additional one-level
                  reduction, pursuant to U.S.S.G. § 3E1.1(b), because the
                  defendant gave timely notice of his intention to enter a plea of
                  guilty, thereby permitting the Government to avoid preparing for
                  trial and permitting the Court to allocate its resources efficiently.

               7. The total offense level is 15.

(PSR ¶¶ 68-78). The defendant has no criminal history points and is in Criminal History Category

I. (Id. ¶ 82). Accordingly, the defendant’s applicable sentencing Guidelines range pursuant to the

November 1, 2023 Guidelines Manual is 18 to 24 months’ imprisonment. (PSR at p. 33). The

parties agreed in the Plea Agreement that Lewis is not prohibited from seeking a downward

departure under U.S.S.G. § 5H1.1 because of his age and U.S.S.G. § 5H1.4 because of his physical

condition. (PSR ¶ 11(c)(iii)).




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       The Probation Office, citing the two bases for a downward departure, recommends a

sentence of 3 years’ probation. (PSR at p. 33). In making its recommendation, the Probation Office

noted among other things that the defendant has “significant health issues” such that his doctors

have concluded that “incarceration would be risky and possibly lethal for the defendant.” (PSR at

p. 34). The Probation Office also emphasized that the defendant has no criminal history, and that

if he were placed in BOP custody, he would be transferred into ICE custody following any

sentence. (Id.)

                                        APPLICABLE LAW

       The Sentencing Guidelines promote the “basic aim” of “ensuring similar sentences for

those who have committed similar crimes in similar ways,” United States v. Booker, 543 U.S. 220,

252 (2005), and so “to secure nationwide consistency, the [Sentencing] Guidelines should be the

starting point and the initial benchmark,” Gall v. United States, 552 U.S. 38, 49 (2007). Along

with the Guidelines, the other factors set forth in Title 18, United States Code, Section 3553(a)

must be considered. Section 3553(a) directs the Court to impose a sentence “sufficient, but not

greater than necessary” to comply with the purposes set forth in paragraph two. That sub-paragraph

sets forth the purposes as:

                  (A) to reflect the seriousness of the offense, to promote respect for
                  the law, and to provide just punishment for the offense;

                  (B) to afford adequate deterrence to criminal conduct;

                  (C) to protect the public from further crimes of the defendant; and

                  (D) to provide the defendant with needed educational or vocational
                  training, medical care, or other correctional treatment in the most
                  effective manner . . . .

       Section 3553(a) further directs the Court to consider: (1) the nature and circumstances of

the offense and the history and characteristics of the defendant; (2) the statutory purposes noted


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above; (3) the kinds of sentences available; (4) the kinds of sentences and the sentencing range as

set forth in the Sentencing Guidelines; (5) the Sentencing Guidelines policy statements; (6) the

need to avoid unwarranted sentencing disparities; and (7) the need to provide restitution to any

victims of the offense. 18 U.S.C. § 3553(a).

                                         DISCUSSION

       Starting with the applicable Sentencing Guidelines range, and taking into account all of the

factors set forth in 18 U.S.C. § 3553(a), including the nature and circumstances of his offenses,

the need to avoid unwarranted sentencing disparities, and the importance of deterrence, the

Government believes that a lengthy prison sentence is not necessary to satisfy the purposes of

sentencing in this case but that some form of punishment is warranted.

       A.      Punishment Is Necessary Because of the Nature and Seriousness of the
               Offense, the Need to Promote Respect for the Law, and the Need to Provide
               Just Punishment for the Offense.

       The nature and seriousness of the offense and the need to provide just punishment and

promote respect for the law warrant some form of punishment in this case. See 18 U.S.C.

§ 3553(a)(1), (2)(A). Lewis exploited inside information for the benefit of his friends and

employees. He breached duties of trust and confidence he owed to public companies, and to an

investment firm that he partially owned. The harms caused by Lewis are significant. First, Lewis

harmed the source of the confidential information, victimizing publicly traded companies and

Boxer Capital. Lewis’s misappropriation of confidential information from those sources unfairly

risked damage to their reputations, and exposed them to costs. As Judge Rakoff has described the

harm, “[t]his was the functional equivalent of stabbing [the victim company] in the back.” United

States v. Gupta, 904 F. Supp. 2d 349, 354 (S.D.N.Y. 2012).




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       Second, the defendant’s conduct eroded confidence in the fairness of the stock market.

Insider trading “creates [the] perception in the public including, among investors and would be

investors, that the market is somehow rigged or, at the very least, that certain individuals who have

more access to information have the upper hand in terms of making investment decisions both

whether to buy or to sell.” United States v. Collins, No. 18 Cr. 567 (VSB) (Jan. 17, 2020), Sent.

Tr. at 87-88. Such a sentiment is particularly true in a case like this one, where the tipper is a

publicly known billionaire with access to information about hundreds of companies, thus

multiplying the threat to society that attaches to his conduct.

       Third, insider trading “appropriate[s] some part of the returns … at the expense of other

shareholders” and “tends to discourage corporate investment and reduce the economic efficiency

of corporate behavior.” Michael Manove, The Harm From Insider Trading and Informed

Speculation, The Quarterly Journal of Economics (Nov. 1989). Because of the economic harm

caused by insider trading, and because “[o]ur markets are … such an important part of the fabric

of our economic life,” it is important to “punish those who would hurt the integrity of that system.”

United States v. Wong, No. 22 Cr. 395 (ER) (Jan. 26, 2024), Sent. Tr. at 24.

       The harm, in each of the foregoing respects, is amplified by the scale of Lewis’s insider

trading. The defendant engaged in multiple instances of insider trading, over multiple years, on

multiple continents, with multiple people. He tipped several individuals, including his employees,

friends, and romantic interests. He was the single source of the misappropriated inside information,

and he was the sole tipper at the heart of this vast network. Put another way, without Lewis, no

one else would have traded on insider information. That is, after all, why Lewis is responsible for

the insider trading gains of others. The fact that Lewis was the originating source of the

misappropriated information—and provided it to so many people—is an aggravating factor the



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Court should incorporate into its sentence. This pattern of behavior, as much as anything, reflects

how serious this breach of confident is, and also speaks, as discussed below, to the need to deter

the defendant and others from this type of conduct.

       In light of the seriousness of the offense and the harm it caused, a punishment that is just

and commensurate with the defendant’s conduct is required. Punishment may come in many

forms. In addition to any restrictions on his liberty that the Court may impose, the defendant will

be subject to hefty financial penalties and significant restrictions on his future business activities,

including his agreement to have all entities under his ownership or control resign and otherwise

relinquish their control over board of director seats and participation in board of director meetings

of any corporation publicly traded in the United States during a five-year term of probation for

Broad Bay Ltd.

       B.      Punishment Is Necessary for General and Specific Deterrence.

       Punishment is also necessary in this case to afford adequate deterrence to criminal conduct.

See 18 U.S.C. § 3553(a)(2)(B). As to specific deterrence, it seems obvious that, given his age, the

restrictions on his involvement in publicly traded companies, and having suffered such a blow to

his reputation, Lewis is unlikely to repeat his transgressions, and no further punishment is needed

to achieve this result. General deterrence, however, remains a significant concern. “[I]nsider

trading is an easy crime to commit but a difficult crime to catch,” Gupta, 904 F. Supp. 2d at 355,

and in order to ensure others similarly situated to the defendant do not come to think that it is “a

game worth playing,” United States v. Goffer, 721 F.3d 113, 132 (2d Cir. 2013). Indeed, research

shows that enforcement actions and punishment for insider trading is effective for achieving

general deterrence. See, e.g., Fernan Restrepo, The Impact of Insider Trading Doctrine on the

Incidence of Insider Trading: An Analysis of the Effect of the Misappropriation Theory (Nov. 8,



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2023), https://ssrn.com/abstract=4627327 (finding that the adoption of the misappropriation

theory of insider trading had a meaningful deterrent effect); Robert Davidson and Christo Pirinsky,

The Deterrent Effect of Insider Trading Enforcement Actions, Accounting Review (May 2021)

(concluding that insider trading convictions have a statistically significant effect on deterrence of

future insider trading).

       For those reasons, it is important here to impose a punishment that will deter future insider

trading. Deterrence is important in this case. Regardless of the motive or circumstances, this type

of conduct cannot be tolerated. Only a fair punishment would adequately ensure that those who

would be tempted by a similar path understand the true consequences of such conduct.

       C.      Punishment Must Reflect the History and Characteristics of the Defendant.

       Of course, the Court must also consider the history and characteristics of the defendant. 18

U.S.C. § 3553(a)(1). The defendant’s sentencing submission outlines several mitigating factors

that the Court should consider at sentencing. The defendant is 87 years old and has significant

medical issues. Lewis seeks a downward departure based on his age and health. The Government

has not independently evaluated Lewis, and therefore takes no position on whether the defendant

is “infirm,” U.S.S.G. § 5H1.1, or has an “extraordinary physical impairment” that renders him

“seriously infirm,” U.S.S.G. § 5H1.4, making a downward departure appropriate. That said, in

recognition of the defendant’s age and medical issues, the Government believes that a variance

from the applicable Guidelines range is required to achieve a sentence that is sufficient but not

greater than necessary.

       In addition, there are several other mitigating factors that the Court should consider in

sentencing Lewis. Those include, as outlined in the defendant’s sentencing submission, that he is




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a first-time offender; he voluntarily surrendered in the United States rather than going through

extradition; and he has suffered reputational damage as a result of the public scrutiny of this matter.

       D.      The Kinds of Sentences Available.

       In light of the seriousness of the offense, the need for deterrence, and the nature and

circumstances of the defendant, the Court should consider the range of possible sentences as set

forth in Chapter 5 of the Sentencing Guidelines. See 18 U.S.C. § 3553(a)(3). The applicable

Guidelines, as set forth in the defendant’s plea agreement, are 18 to 24 months’ imprisonment,

which is within Zone D of the Sentencing Table. Were the Court to conclude that a downward

departure or variance was appropriate, the Court could consider imposing a sentence within Zones

A, B, or C. A Guidelines sentence within Zone A may be imposed without a sentence of

imprisonment. A Guidelines sentence in Zone B or C of the Sentencing Table permits the Court to

(i) impose a sentence of imprisonment, see U.S.S.G. §§ 5C1.1(a), (c)(1), and (d)(1), (ii) impose a

sentence of imprisonment that includes a term of supervised release with a condition that half the

term of imprisonment be served as home detention, see U.S.S.G. § 5C1.1(c)(2) and (d)(2), or (iii)

impose a sentence of probation that includes home detention, see U.S.S.G. § 5C1.1(c)(3).

       In his sentencing submission, the defendant contends that as a citizen of the United

Kingdom, and as a resident of the Bahamas, he is ineligible for designation to a minimum security

prison camp. At this time, the Government understands that the Bureau of Prisons does not strictly

forbid the designation of a non-citizen to a minimum security prison camp, and the Court may

make such a recommendation. That said, the Bureau of Prisons does not ordinarily designate non-

citizens to such facilities, and any designation decision, were the defendant to be sentenced to a

term of incarceration, would be left to the discretion of the Bureau of Prisons.




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       E.      The Sentence Should Avoid Unwarranted Sentencing Disparities.

       The Court must consider the need to avoid unwarranted sentencing disparities. Courts in

this district have generally sentenced individuals convicted of insider trading to terms of

incarceration. See, e.g., United States v. Stone, No. 22 Cr. 510 (MKV) (defendant sentenced to 28

months’ imprisonment following guilty plea); United States v. Bhardwaj, No. 22 Cr. 398 (GHW)

(defendant sentenced to 24 months’ imprisonment following guilty plea); United States v. Dikshit,

No. 21 Cr. 760 (CM) (defendant sentenced to 24 months’ imprisonment following early guilty

plea); United States v. Polevikov, No. 21 Cr. 774 (LJL) (defendant sentenced to 33 months’

imprisonment following pre-indictment guilty plea); United States v. Malnik, No. 19 Cr. 714 (VM)

(defendant sentenced to 30 months’ imprisonment following guilty plea); United States v. Collins,

No. 18 Cr. 567 (VSB) (defendant sentenced to 26 months’ imprisonment following guilty plea).

       To be sure, Lewis presents differently from many defendants, for the reasons discussed at

length here and in his submission. But his offense conduct does not—if anything, his behavior was

more egregious than some other traditional insider trading defendants, given how many securities,

co-conspirators, and trades were involved in his conduct. Indeed, there are parallels between

Lewis’s conduct and two other non-trading tipping defendants that were previously sentenced in

this district. First, James McDermott, the former chairman and CEO of a Wall Street investment

banking firm, was sentenced to 8 months’ imprisonment for tipping his mistress, who along with

a friend together made $174,000 in insider trading profits. United States v. McDermott, No. 00 Cr.

61 (KMW) (Aug. 3, 2000). Second, and more recently, Sean Stewart, a vice president at a

healthcare investment bank, was sentenced to 24 months’ imprisonment for tipping his father, who

along with a friend made $1.1 million in insider trading profits. United States v. Stewart, No. 15

Cr. 287 (JSR) (Dec. 15, 2019). In both cases, motivated by personal affection, the defendants



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betrayed their duties to a company and tipped others, causing them to trade. In neither case did the

defendant personally make money. But in both cases, a significant sentence was still appropriate

to reflect the seriousness of the offense and afford adequate deterrence. While certainly every case

is unique, and there are some mitigating factors in Lewis’s case that did not exist for McDermott

or Stewart, the cases bear consideration in order to avoid disparate outcomes across different cases.

       F.      Financial Penalties and Corporate Resolution

       As the parties have agreed, significant financial penalties are appropriate in this case.

       Starting with a fine, Lewis plainly has the ability to pay. The Guideline fine is $7,500 to

$5 million, and the Probation Department recommends a $5 million fine. (PSR p. 33).1 Such a fine

is appropriate here.

       Second, because Lewis did not personally gain from the insider trading, no forfeiture is

appropriate.

       Third, because the victim of insider trading is the owner of the information that was

misappropriated, restitution may be appropriate in the form of attorney fees or other costs incurred

by the victim by participating in the investigation of the defendant or his co-conspirators. See

United States v. Gupta, 925 F. Supp. 2d 581 (S.D.N.Y. 2013). The PSR has indicated that the

victims of the insider trading are Solid Biosciences, Mirati Therapeutics, BCTG/Tango

Therapeutics, and Australian Agricultural Company. (PSR ¶ 63). Additionally, as the PSR

correctly notes, because Lewis learned the information on at least two occasions through an insider


       1 As part of a separate agreement, Broad Bay Ltd., a company owned by Lewis, pled guilty

to securities fraud relating to a long-running scheme to misrepresent Lewis’s and his entities’
ownership in Mirati. (PSR ¶¶ 44-52). Through this scheme, Lewis was able to exercise Mirati
warrants that he and his companies would not otherwise have been entitled to exercise. (Id.). The
Broad Bay plea agreement includes stipulated total financial penalties. The Government notes that
to the extent the Court imposes a fine as part of the sentencing of Lewis, under the Broad Bay plea
agreement that amount would be deducted from the total financial penalty imposed on Broad Bay.


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at Boxer Capital, who was totally unaware of and uninvolved in Lewis’s misconduct, Boxer

Capital also would qualify as a victim. (Id.) The Government has received one request for

restitution from Solid Biosciences, attached as Exhibit A, in which it requests $436,015 in

attorney’s fees. (See Ex. A). Under 18 U.S.C. § 3664(d)(5), for a period of 90 days after

sentencing, the Court may make a final determination of victim losses and, if appropriate, issue an

amended judgement with an order of forfeiture. This so-called “time-related directive” may be

further extended, as necessary, by the Court. See Dolan v. United States, 560 U.S. 605, 610-11

(2010); see also United States v. Avenatti, 81 F.4th 171, 203-07 (2d Cir. 2023). Because the trial

of one of Lewis’s co-defendants may result in additional expense to victims, which could prompt

a request for restitution, the Government respectfully requests that the Court set a control date of

90 days from sentencing, at which time the Government will provide the Court with an update on

restitution requests and, if needed, seek a further extension of time.

       Finally, as the Court knows, Broad Bay Ltd. previously pled guilty and agreed, pursuant to

Rule 11(c)(1)(C), to certain financial and injunctive penalties. As the Court has accepted that plea,

the Government respectfully requests that the Court impose the sentence as set forth in the Broad

Bay plea agreement. 2 Furthermore, as Lewis has agreed to comply with certain conditions in the

Broad Bay plea agreement, the Government respectfully requests that the Court impose

compliance with those conditions as special conditions of Lewis’s supervised release or probation.




       2 At the sentencing of Broad Bay, or at a point thereafter, it may become necessary to

modify certain injunctive relief as, for instance, certain companies become publicly traded. In the
event such a situation manifests, the Government will promptly write to the Court.


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                                        CONCLUSION

       For the foregoing reasons, the Government respectfully submits that although punishment

is warranted by the conduct in this case, a sentence below the applicable Guidelines range of 18 to

24 months’ imprisonment would be sufficient but not greater than necessary in this case.

Dated: New York, New York
       April 1, 2024                         Respectfully submitted,

                                                       DAMIAN WILLIAMS
                                                       United States Attorney

                                                 By:          /s
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